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Patrick A. Swindell
Swindell Law Firm
106 SW 7th Ave.
Amarillo, TX 79501
(806) 374-7979
{806) 374-1991 FAX

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
IN RE:
§
Krisu Hospitality LLC § CASE NO, 19-20347-11
§
§
DEBTOR §

DEBTOR'S APPLICATION FOR EMPLOYMENT OF ATTORNEY

Krisu Hospitality LLC, Debtor in the above styled case, respectfully represents that:

1. Debtor herein wishes to employ Patrick A. Swindell and Swindell Law Firm as its
allorney in this proceeding.

2. Said lawyer is well qualified to act as counsel in this case.

3. Debtor cannot represent itself in this proceeding and it is necessary that it employ
legal counsel.

4, The professional services to be rendered include all legal services that are necessary or
may be necessary in a Chapter | 1 proceeding.

5. The compensation for attorney will be based on an hourly charge at the rate of
$350.00 an hour, and $150.00 an hour for legal assistants time as set forth in attached retainer
agreement.

6. To the Applicant's knowledge, Patrick A. Swindell does not have nor does he
represent any interest of any creditor, other party in interest, their attorneys or accountants, the

United States Trustee or any person employed in the office of the United States Trustee in any
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manner which would create or represent an interest which is adverse to the estate of the Debtor-
in-Possession in connection with the matters upon which the law firm is to be engaged.
WHEREFORE, Debtor prays that it be authorized to retain Patrick A. Swindell as counsel in the
case; nunc pro tunc as of November 4, 2019,

Dated: November 6, 2019
KRISU HOSPITALITY LLC

By: /s/ Piyush Kantilal Patel
Piyush Kantilal Patel, Member

By: /s/ Bharti Pryush Patel
Bharti Piyush Patel, Member

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on November 6, 2019, a true and correct copy of
the foregoing Application for Employment of Attorney was served via US mail or ECF
notification as follows and the attached mailing matrix:

U.S. Trustee's Office
1100 Commerce, Rm. 976
Dallas, TX 75242

Krisu Hospitality, LLC
500 W. Harvester
Pampa, TX 79065

By: /s/ Piyush Kantilal Patel
Piyush Kantilal Patel, Member

By: /s/ Bharti Piyush Patel
Bharti Piyush Patel, Member
Debtor(s) Knsu Mea ASinLGc20347-rlj11 Doc 9 Euled: 444024419 Entered 11/07/19 10:42:00 noktage @sofict or texas

Bhiren Patel
5 West Way Carshalt

Brianna Cooper
8004 Abbevile Ave
Lubbock, TK 79424

BW Chase Visa
P.O. Box 15298
Wilmington, DE 19850

Centennial Bank
7207 82nd st
Lubbock, TX 79424

City of Pampa
200 W Foster
Pampa, TX 79065

Dinesh Patel
2 Cyprus Pt
Amarillo, TX 79124

Direct Tv
P.O, Box 410347
Charlotte, NC 28241

Expedia
333 108th Ave NE
Bellevue, WA 98004

Farmers Insurance
P.O. Box 2847
Grand Rapids, MI 49501

Govind Kaka Patel
12126 48th st
Lubbock, TX 79412

Chapter. 14

Gray County
P.O, Box 836
Pampa, TX 79066

HD Supply
P.O. Box 509058
San Diego, CA 92150

Internal Revenue Service*

Centralized Insolvency Operatic:

PO Box 7346
Philadelphia, PA 19101-7346

Kamlesh Patel
537-1 West River Rd
Palatka, FL 32177

Krisu Hospitality LLC
500 W. Harvester
Pampa, TX 79065

Look Outdoor
700 N Florida St
Borger, TX 79007

LQ Chase Visa
P.O. Box 15298
Wilmington, DE 19850

Milan Patel
25 Prestwick Ln
Amarillo, TX 792124

Navin Bhakta
1620 8 Dumas Ave
Dumas, TX 79029

New York Life Insurance
6734 N Longmeadow
Lincolnwoed, IL 60712

AMARILLO DIVISION

Oracle elevator
600 S Tyler St Ste 13
Amarillo, TX 79101

Peekay Hospitality
1701 S Dumas ave
Dumas, TX 79029

Peekay Refi
1701 Dumas Ave
Dumas, TX 79029

Popp Hutcheson
1301 8S Mopac
Austin, TX 78746

Praful Bhakta
2100 N Kansa Ave
Liberal, KS 67961

Punkaj Patel
246 Marion Ave
Summerville, SC 29483

Raju Patel
5174 Brian Ln
Encino, CA 91436

Rudd F Owen
P.O. Box 328
Plainview, TX 79073

Sams
2201 Ross Osage Dr
Amarillo, TX 79103

Sparklight Business
1059 Coronado Cir
BORGER, TA 79007
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Chapter 11 AMARILLO DIVISION

Texas Comptroller of Publlic Ac Xcel Energy
P.O. Box 13528 P.O. Box 1443
Austin, TX 78711 Minneapolis, MN 55483

Texas Panhandle Regional Develo
801 Filmore Suite 205
Amarillo, TX 79101

Tim Newsom
1001 S Harrison St
Amarillo, TX 79101

United Supermarket
PLO. Box 15585
Canyon, TX 79015

US Attorney General
Department of Justice

950 Pennsylvania Ave, N.W.
Washington, DC 20530

US Attorney in Charge
1100 Commerce St. 3rd Floor
Dallas, TX 75242

US Small Business Administratio
1205 Texas Ave Rm 408
Lubbock, TX 79401

US Trustee

William T, Neary

1100 Commerce St. Rm. 976
Dallas, TX 75242

Velocity
7130 Spring Meadow
Holland, OH 43528

Wyndham Hotels
22 Sylvan Way
Parsippany NJ
